              UNITED STATES DISTRICT COURT FOR THE
              WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION


UNITED STATES OF AMERICA )                DOCKET NO. 1:05CR257
                          )
         vs.              )               ORDER OF DISMISSAL
                          )
2)NAVARIO SOLORIO RAMIREZ                 )


      THIS MATTER is before the Court on the Government’s motion for

the dismissal of the Indictment in the above-captioned case without

prejudice.

      For cause shown,

      IT IS, THEREFORE, ORDERED that the Government’s motion to

dismiss is ALLOWED, and the captioned indictment is hereby DISMISSED

without prejudice.

      The Clerk is directed to certify copies of this Order to the Defendant,

his attorney, the United States Probation Office, and the United States

Attorney's Office.




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                    Signed: January 4, 2006




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